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                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA



 REPUBLIC OF THE GAMBIA,

       Petitioner,
               v.                                 Miscellaneous Action No. 20-36 (JEB)


 META PLATFORMS, INC.,

       Respondent.


                                        ORDER

      For the reasons set forth in the accompanying Memorandum Opinion, the Court

ORDERS that:

      1. Petitioner’s Motion to Reconsider is DENIED.



                                                /s/ James E. Boasberg
                                                JAMES E. BOASBERG
                                                United States District Judge

Date: March 3, 2022




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